Case 2:01-cv-06049-MSG Document 162 Filed 04/03/19 Page 1 of 8

DISTRICT ATTORNEY'S OFFICE
THREE SOUTH PENN SQUARE
PHILADELPHIA, PENNSYLVANIA 19107-3499
(215) 686-8000

LAWRENCE S. KRASNER
DISTRICT ATTORNEY

April 3, 2019

Honorable Mitchell S. Goldberg

United States District Court Judge

United States District Court, Eastern District of Pennsylvania
U.S. Courthouse

601 Market Street, Room 7614

Philadelphia, PA 19106-1741

RE: Wharton v. Ferguson, No. 01-6049

Dear Judge Goldberg:

Enclosed please find a copy of respondent’s brief in response to the Court's

order of March 4, 2019.

Respectfully Submitted,

Max C. Kaufman
Supervisor, Federal Litigation Unit

Enclosure

cc: Claudia Van Wyk, Esquire
Victor J. Abreu, Esquire
Case 2:01-cv-06049-MSG Document 162 Filed 04/03/19 Page 2 of 8

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT WHARTON, : CIVIL ACTION
Petitioner
Vv.
TAMMY FERGUSON, : NO, 01-6049
Respondent
BRIEF

By order entered March 4, 2019, this Court invited the parties to submit briefs on

the following issues: (1) whether the Court has the authority and/or the obligation to

grant habeas relief to petitioner based solely on the District Attorney's concession of the

remaining habeas claim, or whether the Court must independently review, and

determine the merits of, that now-conceded claim; and (2) if the Court must make an

independent determination on the merits, whether that is possible on the current record,

without conducting the evidentiary hearing as directed by the United States Court of

Appeals for the Third Circuit. This is the Commonwealth's brief.

A prosecutor is ethically obligated to concede relief when the prosecutor
believes that justice so requires; in this situation, a court may, but is not
required, to accept that concession.

Prosecutors have an ongoing and abiding obligation to pursue justice. See

American Bar Association Criminal Justice Standards, Rule 3.-1.2(a), 3.8.1. "The

[prosecutor] is the representative not of any ordinary party to a controversy, but of a

sovereignty ... whose interest . . . in a criminal prosecution is not that it shall win a

case, but that justice shall be done." Berger v. United States, 295 U.S. 78, 88 (1935).

Case 2:01-cv-06049-MSG Document 162 Filed 04/03/19 Page 3 of 8

This prosecutorial responsibility continues throughout the duration of a case.

see, e.g., Commonweath v. DiPasquale, 431 Pa. 536, 540-41 (Pa. 1968) (District

Attorney "has a [gleneral and widely recognized power" to decide "whether and when to

continue or discontinue a case"); see also United States v. Maloney, 755 F.3d 1044 (9th

Cir. 2014) (en banc) (granting U.S. Attorney's Motion to Summarily Reverse the
Conviction, Vacate the Sentence and Remand to the District Court; U.S. Attorney's
motion based on trial prosecutor's improper closing argument).

Put another way, a prosecutor's responsibility includes changing course, if a
prosecutor determines that the facts and law require a position different from that
previously taken. This does not mean that the prior prosecutor's position was unethical
or wrong. It means just that the current prosecutor is exercising his/her own
independent judgment as s/he is ethically required to do.

For example, in 2012 Solicitor General Donald B. Verrilli acknowledged during
oral argument in the U.S. Supreme Court that the government had changed its position
on the question whether American courts have jurisdiction to hear cases involving

alleged human rights abuses in other countries. Transcript of Oral Argument at 43-44,

Kiobel v. Royal Dutch Petroleum Co., No. 10-1491, 569 U.S. 108 (2012). See also Brief

for the United States as Amicus Curiae Supporting Neither Party, at n. 9, U.S. Airways

Inc. v. McCutchen, No. 11-1285 (U.S. Sept. 5, 2012) (federal government changed
position in U.S. Supreme Court in labor case); Brief for the United States as Amicus

Curiae Supporting Petitioners, NLRB v. Murphy Oil USA, Nos. 16-285, 16-300, 16-1307,

at 13 (same; Acting Solicitor General Jeffrey B. Wall stating, “after the change in
Case 2:01-cv-06049-MSG Document 162 Filed 04/03/19 Page 4 of 8

administration, the office reconsidered the issue and has reached the opposite
conclusion").

Here, the District Attorney's Office carefully reviewed the facts and law and
determined that Wharton's ineffectiveness claim fulfills the criteria articulated in

Strickland v. Washington, 466 U.S. 668 (1984). More specifically, this Office

determined that Wharton’s remaining habeas claim — that his counsel was ineffective at
his second penalty hearing for not investigating and presenting evidence of his
adjustment to prison ~ is not lacking in merit.

The circumstances supporting this conclusion include the Third Circuit's ruling
that the state court's rejection of the issue was not reasonable, and that the claim
should therefore be reviewed under a non-deferential, de novo standard. See Wharton
v. Vaughn, 722 Fed. Appx. 268, 280 (3d Cir. 2018).

In addition, the Commonwealth notes petitioner's argument that, following the
Third Circuit's decision, Wharton’s counsel at the second penalty hearing executed a

declaration under penalty of perjury. In the declaration, counsel stated that “[iJf | were

called to testify at [the evidentiary hearing ordered by the Third Circuit], | would explain
that | was not operating under any strategy or tactic when | did not investigate and
present evidence of Mr. Wharton's positive prison adjustment at his second penalty
hearing and argue to the jury that Mr. Wharton's life should be spared because he
posed no danger to inmates or staff if he were sentenced to life” (Declaration of William
T. Cannon, Esq., July 3, 2018).

On the question of prejudice, even in the absence of any prison adjustment

evidence, the sentencing jury initially reported that it was deadlocked on whether to
Case 2:01-cv-06049-MSG Document 162 Filed 04/03/19 Page 5 of 8

sentence Mr. Wharton to death. Ultimately, even without the evidence, the jury found
the catch-all mitigating circumstance. These facts support petitioner’s argument that if
the prison adjustment evidence had been presented to the jury, “there is a reasonable
probability that at least one juror would have voted against imposing the death penalty.”
Wharton, 722 Fed. Appx. at 281.

In light of the meritoriousness of Wharton's surviving claim, the District Attorney's
Office has determined that continuing to seek affirmance of Wharton's death sentence
does not justify further expenditure of judicial and legal resources, and years more of
litigation.

Further, the concession procedure followed by the Commonweatth in this case
repeatedly has been approved by the courts of this district. In at least six other cases,
this Office's written notice of concession was, in material respect, the same as the

notice filed here. See Speight v. Beard, No. 04-04110, Doc. 94 at 10 n.11 (E.D. Pa.

Dec. 22, 2014); Lambert v. Folino, No. 10-01339, Doc. 91 (E.D. Pa. April 10, 2018);

Mason v. Wetzel, No. 17-3759, Doc. 25 (E.D. Pa. June 1, 2018); Brown v. Beard, No.

04-4125, Doc. 69 (E.D. Pa. June 20, 2018); Marshall v, Wetzel, No. 03-3308, Doc. 172

(E.D. Pa. June 25, 2018). Whitaker v. Mooney, No. 14-2321, Doc. 68 (E.D. Pa. June

27, 2018). In each of these cases, the court accepted the Commonwealth's

concession. See Speight v. Beard, 2017 WL 914907 at *17 (E.D. Pa. March 3, 2017)
{memorandum opinion of Quinones Alejandro, J.) (accepting concession of capital

penalty phase relief); Lambert v. Folino, No. 10-01339, Doc. 95 (E.D. Pa. April 26,

2018) (order of Joyner, J.) (accepting concession of grant of new trial); Mason v.

Wetzel, No. 17-3759, Doc. 31, at 2 (E.D. Pa. Aug. 7, 2018) (so-ordered stipulation of
Case 2:01-cv-06049-MSG Document 162 Filed 04/03/19 Page 6 of 8

Beetlestone, J.) (accepting concession of capital penalty phase relief); Brown v. Beard,

No. 04-4125, Doc. 71 (E.D. Pa. June 27, 2018) (order of Pratter, J.) (accepting

concession of grant of new trial); Marshall v. Wetzel, 2018 WL 5801313 at *37 (E.D. Pa.

Nov. 6, 2018) (opinion of Leeson, J.) (accepting concession of capital penalty phase

relief); Whitaker v. Mooney, No. 14-2321, Doc. 69 (E.D. Pa. June 27, 2018) (order of

Smith, J.) (accepting concession of grant of new trial). Indeed, as far as this Office is
aware, there has not been a prior instance where a court in this district has declined to
accept a concession of relief by the Commonwealth in a pending habeas case.

This Office's considered judgment to concede penalty phase relief under the
specific circumstances of this case, while not binding on this Court, is entitled to great

weight. See Young v. United States, 315 U.S. 257, 258-259 (1942) (“The considered

judgment of the law enforcement officers that reversible error has been committed is
entitled to great weight”).

In short, a prosecutor is ethically obligated to concede relief when the prosecutor
believes that the circumstances so require, and in this situation, a court may, but is not
bound to, accept that concession. -

Il. If the record is insufficient to rule on the remaining claim, the Court can
conduct an evidentiary hearing.

This Court has concluded that it “cannot independently evaluate the merits of the
[rlemaining [s]entencing [c]laim on the current record.” Wharton, 2019 WL 1014729 at
*7. To the extent this remains the Court's view following consideration of the responsive
filings of the parties, including any motion to expand the record under Habeas Rule 7
filed by petitioner, this Office has no opposition to the Court holding an evidentiary

hearing.
Case 2:01-cv-06049-MSG Document 162 Filed 04/03/19 Page 7 of 8

Respectfully submitted,

MAX C. KAUFMAN ~~

Supervisor, Federal Litigation Unit
PAUL M. GEORGE

Assistant Supervisor, Law Division
NANCY WINKELMAN

Supervisor, Law Division

Case 2:01-cv-06049-MSG Document 162 Filed 04/03/19 Page 8 of 8

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT WHARTON, : CIVIL ACTION
Petitioner
v.
TAMMY FERGUSON, : NO. 01-6049
Respondent

CERTIFICATE OF SERVICE

I, MAX C. KAUFMAN, hereby certify that on April 3, 2019, a copy of the
foregoing pleading was served by placing same, first-class postage prepaid, in

the United States mail addressed to:

Claudia Van Wyk, Esquire
Victor J. Abreu, Esquire
Defender Association of Philadelphia
Federal Court Division
The Curtis Center, Suite 545 West
Independence Square West
...Philadelphia, PA.19106
_ (215) 928-0520.

ty EC

Max C. Kaufman

Supervisor, Federal Litigation Unit
Philadelphia District Attorney's Office
Three South Penn Square
Philadelphia, PA 19107

(215) 686-5747

